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                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF INDIANA
                                     HAMMOND DIVISION

CRISTOBAL ALVAREZ, et al.,                            )
                                                      )
                         Plaintiffs,                  )
                                                      )
        v.                                            )
                                                      )
ATLANTIC RICHFIELD COMPANY, et al.,                   )      CAUSE NO.: 2:17-cv-00414-PPS-JPK
                                                      )
                         Defendants.                  )

                                           STATUS REPORT

        The parties submit this Status Report to advise the Court of the status of the discovery

issues identified in their January 12, 2023 Status Report. See Dkts. 218, 222. 1 As explained below,

the parties reached an agreement on all but one issue—the adequacy of Plaintiffs’ verifications to

Defendants’ interrogatories—and agree that it would be appropriate for the Court to mediate the

parties’ disagreement if they cannot reach an agreement before the March 14, 2023 Status

Conference. See Dkt. 226.

        I.       Resolved Discovery Issues:               The parties resolved the following issues:

(1) Plaintiffs’ further responses to Defendants’ First Set of Interrogatories and Requests for

Production of Documents to Plaintiffs; (2) Plaintiffs’ search and production of electronic materials,

such as emails and social media; (3) the release of Plaintiffs’ medical and mental health records

and information, and (4) the additional documents to be produced by Defendants. 2



1
    The parties will continue to try to resolve without Court intervention any new discovery issues as they
    arise. For instance, Atlantic Richfield Company (“Atlantic Richfield”) and Plaintiffs have agreed to
    meet and confer regarding the production of Plaintiffs’ settlement agreement with U.S.S. Lead and
    Refinery, Inc. (d/b/a U.S.S. Lead Refinery, Inc.). If Atlantic Richfield is unable to resolve this issue
    with the parties to the agreement, Atlantic Richfield will file a motion at the appropriate time.
2
    The parties reserve their right to raise one or more of these issues with the Court as appropriate in the
    future, should the parties’ agreements fail to address the discovery issues identified.
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                 A.      Plaintiffs’ Discovery Responses:           Plaintiffs have agreed to provide

“revised supplemental” interrogatory responses and “supplemental” responses to the requests for

production that address issues raised by Defendants during the meet and confer process.

                         1.      Plaintiffs’ position: As the investigation into this case continues,

Plaintiffs will provide corrected and supplemental interrogatory answers where necessary to

update damages calculations and address any factual inaccuracies. Plaintiffs are not currently

aware of any additional information described in the bullet points in Defendants’ position stated

in Section A.2. below. Plaintiffs will supplement interrogatory responses in accordance with Rule

26(e)(1).

                         2.      Defendants’ position: Defendants have identified several issues

regarding Plaintiffs’ interrogatory responses, but are hopeful that the issues will be addressed in

Plaintiffs’ forthcoming revised supplemental responses. For example, Defendants have requested

that Plaintiffs provide more information in response to interrogatories seeking information

regarding any additional environmental sampling of their properties, 3 as well as other information

related to the properties at issue, including:

        •        whether any alleged contaminants other than lead and/or arsenic were found
                 at their property; 4

        •        whether any contamination remains on the property and if so, the location
                 and concentration of any such contaminant;

        •        the alleged environmental pathway(s) from any Defendant’s former facility
                 to the property; and

        •        the specific amount by which the property is claimed to have decreased in
                 market value as a result of the alleged contamination, among other

3
    See Tr. Status Hr’g 47:21–48:7, Jan. 26, 2023 (attached as Exhibit A); Rep. Parties’ Planning Meeting,
    Dkt. 176 at 5–6.
4
    Plaintiffs’ counsel explained that, “Some people believe that based on what they saw happening at their
    property[,] that it may still be contaminated, but we don’t know that to be true.” Ex. A, Tr. Status Hr’g
    47:25–48:2 (emphases added).


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               information.

Defendants remain willing to consider the adequacy of Plaintiffs’ forthcoming revised

supplemental and/or supplemental responses before seeking relief from the Court on these issues.

               B.      Plaintiffs’ Electronic Materials: Plaintiffs have agreed to provide by

March 1, 2023 proposed revisions to Defendants’ search term proposal for Plaintiffs’ electronic

materials. Because the parties are continuing to discuss Plaintiffs’ searches of social media, they

do not believe this issue is ripe for Court intervention at this time.

               C.      Plaintiffs’ Medical and Mental Health: The parties have agreed on a

compromise with respect to this issue: each Plaintiff agreed to release his or her medical and

mental health records and information from 2011 to present. Defendants reserve their right to seek

additional records from any Plaintiff for a longer period of time and/or information about treatment

for drugs, alcohol, and HIV/AIDS from any Plaintiff, and Plaintiffs reserve their right to oppose

any such request.

               D.      Defendants’ Discovery Responses: Defendants have agreed to search for

and produce additional non-privileged, responsive documents and information. The parties have

agreed to work together to target a reasonable and efficient timeline to complete this

supplementation.

       II.     Outstanding Discovery Issue:            The parties have been unable to reach an

agreement on the adequacy of Plaintiffs’ interrogatory verifications. As suggested by the Court,

the parties agree that it would be appropriate for the Court to mediate the parties’ respective

positions on this issue.

               A.      Plaintiffs’ position: Rule 33 permits Defendants to pose questions to

Plaintiffs even if the answers are beyond the personal knowledge of any or all of the Plaintiffs.

Rule 33(b)(3) should not be read to require a plaintiff in this case to swear under penalty of perjury


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the truth of any fact that is beyond his or her personal knowledge. Indeed, such requirement may

violate a plaintiff’s due process rights. 5 The appropriate reading of the verification requirement,

when applied to matters outside the plaintiff’s foundation of knowledge, permits a plaintiff to

verify that the answers state his or her true and correct position in the case. Such language serves

the purpose of the verification requirement. Nothing in the cases cited by Defendants requires

anything more than what Plaintiffs’ verification provides. Plaintiffs offered to delineate which

specific interrogatory responses are within a plaintiff’s foundation of knowledge, even though the

burden of doing so provides little value beyond the verification itself and would likely be requested

only to increase the burden on Plaintiffs of pursuing their claims. In any event, Defendants

indicated they were not satisfied with this offer in the parties’ most recent meet and confer.

                 B.      Defendants’ position: Plaintiffs’ verifications are deficient in failing to

verify under oath the truth and accuracy of their entire response to each interrogatory. 6 The

verifications also fail to comply with other requirements, such as identifying which responses

Plaintiffs are verifying.

         Plaintiffs must verify their interrogatory responses, irrespective of the source of knowledge

in the responses. 7 Plaintiffs, however, have only verified “under penalty of perjury . . . the



5
    The language of the verifications at issue read: “I, [Plaintiffs’ name] state under penalty of perjury,
    that the answers in [INTERROGATORY RESPONSES] that are within my foundation of knowledge
    are true and correct; and otherwise the answers are true and correct statements of my position in this
    case.” (Emphasis added.)
6
    See Fed. R. Civ. P. 33(b)(3), (5). In January and February 2023, Plaintiffs Harrison Gibbs, Melissa
    Peterson, Cytheria Artis, and Michael Trambles served corrected and supplemental interrogatory
    responses, which were accompanied with “new” verifications that are the subject of the parties’
    disagreement. While Defendants had identified several issues with the prior verifications that Plaintiffs
    provided with their supplemental interrogatory responses in December 2022, those verifications did
    include a proper oath affirming the truth and accuracy of all of their responses, including those with
    information not personally known to them.
7
    See, e.g., United States v. Quebe, 321 F.R.D. 303, 309 (S.D. Ohio 2017) (“Although attorneys, as a
    practical matter, very likely assist their clients when answering Interrogatories, Rule 33(b)(3) required
    [the party] to answer each interrogatory separately, fully, and under oath.” (citation omitted)); see also


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answers . . . that are within [their] foundation of knowledge.” 8 The remainder of their verifications

state that, “otherwise the answers are . . . statements of [Plaintiffs’] position in this case.”9

Plaintiffs thus fail to verify under oath any response for which they lack personal knowledge. But

Plaintiffs do not identify which responses or portions thereof are based on their personal

knowledge—and without a proper oath, the verifications are defective in allowing Plaintiffs to

disclaim their responses. 10

          Moreover, Plaintiffs’ verifications fail to state that they actually read their responses before

verifying them. 11 The verifications also must identify which interrogatory responses Plaintiffs are

verifying:     their initial responses, their supplemental responses, and/or their corrected and

supplemental responses. 12 For these reasons, Plaintiffs’ verifications fail to bind them to their

responses and thus undermine Defendants’ ability to obtain information and evidence through

interrogatories. 13 Defendants therefore request the Court’s assistance in mediating the parties’




     Luster v. Ill. Dep’t of Corr., 652 F.3d 726, 731 n.2 (7th Cir. 2011) (“A party answering an interrogatory
     must provide the non-privileged, responsive information he has, whether or not he has personal
     knowledge . . . of the matter.” (emphasis added)).
8
     See, e.g., Pl. Cytheria Artis’s Corrected & Second Interrog. Resps. at p. 30 (emphasis added). The full
     verification reads, “I, [Plaintiff’s Name], state under penalty of perjury, that the answers in PLAINTIFF
     [Plaintiff’s Name]’S (name of Plaintiff) CORRECTED AND SECOND SUPPLEMENTAL
     INTERROGATORY RESPONSES that are within my foundation of knowledge are true and correct;
     and otherwise the answers are true and correct statements of my position in this case.”
9
     See note 8.
10
     See, e.g., In re Asbestos Prods. Liab. Litig. (No. VI), 2012 WL 5839023, at *8–14 (E.D. Pa. Nov. 16,
     2012) (striking interrogatory responses verified with defective verifications that improperly limited
     plaintiffs’ oath to only those responses known to them personally); Quebe, 321 F.R.D. at 310 (finding
     verifications “inadequate” where defendant “verified only the facts” in his responses because opposing
     “counsel will be unable to depose [him] about portions of the answers that he did not provide”).
11
     Curiously, the verifications that accompanied Plaintiffs’ supplemental interrogatory responses did
     include the phrase, “I have read.”
12
     See, e.g., In re Asbestos Prods. Liab. Litig. (No. VI), 2012 WL 5839023, at *8–14 (finding that individual
     plaintiffs must provide proper verifications for their initial, supplemental, and second supplemental
     interrogatory responses).
13
     In advance of raising this issue with the Court, Defendants proposed verifications, which contain a
     proper oath, that they requested be signed and returned with interrogatory responses served on behalf of


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disagreement on this issue, should the parties not reach an agreement before the March 14, 2023

Status Conference.

Dated: February 28, 2023                              Respectfully submitted,


s/David J. Chizewer                                   s/Diana E. Reiter
David J. Chizewer                                     Diana E. Reiter
Rachel C. Steiner                                     Nancy G. Milburn
Stacey E. Petrek                                      Arnold & Porter Kaye Scholer LLP
Goldberg Kohn Ltd.                                    250 West 55th Street
55 East Monroe Street, Suite 3300                     New York, NY 10019
Chicago, IL 60603                                     (212) 836-8000
(312) 201-4000                                        Diana.Reiter@arnoldporter.com
David.Chizewer@goldbergkohn.com                       Nancy.Milburn@arnoldporter.com
Rachel.Steiner@goldbergkohn.com
Stacey.Petrek@goldbergkohn.com                        Sean O. Morris
                                                      Arnold & Porter Kaye Scholer LLP
Counsel for Plaintiffs                                777 South Figueroa Street, 44th Floor
                                                      Los Angeles, CA 90017
                                                      (213) 243-4000
                                                      Sean.Morris@arnoldporter.com

                                                      Kathleen A. DeLaney, Atty. No. 18604-49
                                                      DeLaney & DeLaney LLC
                                                      3646 Washington Boulevard
                                                      Indianapolis, IN 46205
                                                      (317) 920-0400
                                                      Kathleen@delaneylaw.net

                                                      Counsel for Defendant Atlantic Richfield
                                                      Company


                                                      s/Honor R. Costello
                                                      Honor R. Costello
                                                      Crowell & Moring LLP
                                                      590 Madison Avenue
                                                      New York, NY 10022
                                                      (212) 223-4000
                                                      HCostello@crowell.com



   the forty-one Plaintiffs and four decedents in this case. Defendants’ verification proposal is attached as
   Exhibit B.


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                                      Tracy A. Roman
                                      Crowell & Moring LLP
                                      1001 Pennsylvania Avenue, N.W.
                                      Washington, D.C. 20004
                                      (202) 624-2500
                                      TRoman@crowell.com

                                      Dina M. Cox, Atty. No. 18590-49
                                      Janelle P. Kilies, Atty. No. 30807-49
                                      Lewis Wagner, LLP
                                      1411 Roosevelt Avenue, Suite 102
                                      Indianapolis, IN 46201
                                      (317) 237-0500
                                      DCox@lewiswagner.com
                                      JKilies@lewiswagner.com

                                      Counsel for Defendants EIDP, Inc. f/k/a E. I. du
                                      Pont de Nemours and Company and The
                                      Chemours Company




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